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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

POPSOCKETS LLC,
                                                  Case No. 18-cv-06364
              Plaintiff,
                                                  Judge Virginia M. Kendall
v.
                                                  Magistrate Judge Michael T. Mason
GUANGDONG S-ZONE ELECTRONIC LTD.,
et al.,

              Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff PopSockets

LLC (“PopSockets” or “Plaintiff”) hereby dismisses this action with prejudice against the

following Defendants:

               Defendant Name                                      Line No.
                 Hosum Store                                          28
                   linga-23                                           56
                souqing5763-0                                         58




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Dated this 17th day of December 2018.   Respectfully submitted,


                                        /s/ Justin R. Gaudio_______________
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                                        Justin R. Gaudio
                                        Allyson M. Martin
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